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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

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)

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ENERGY FUTURE HOLDINGS CORP., efal., )
)

Debtors. )

)

CERTIFICATE OF SERVICE

I, Raymond H. Lemisch, Esquire, hereby certify that on August 8, 2016 a true and correct
copy of the RESERVATION OF RIGHTS OF UMB BANK, N.A, TO CONFIRMATION OF
THE THIRD AMENDED JOINT PLAN OF REORGANIZATION OF ENERGY FUTURE
HOLDINGS CORP., ET AL. PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

(the “Reservation of Rights”) was served on the following counsel of record for the above

captioned Debtors via e-mail:

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In addition, the Reservation of Rights was also served on August 8, 2016 via electronic

mail on the Participating Parties (as defined in the Order Scheduling Certain Hearing Dates and

Deadlines and Establishing Certain Protocols in Connection with the Confirmation of Debtors’

Joint Plan of Reorganization and the Approval of Debtors’ Disclosure Statement (D.1. 8514)) at

the following electronic mail address set up by the Debtors to allow for service on all

Participating Parties: EFH_DS Discovery Service List@kirkland.com

Dated: August 8, 2016
Wilmington, DE

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By: /s/ Raymond H, Lemisch

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Trustee to the EFIH Senior Toggle Notes

